Case 2:23-cv-06281-CBM-SK Document 30 Filed 05/06/24 Page 1 of 1 Page ID #:281




                      UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                           MAY 6 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
 RAJ PATEL,                                       No. 23-55768

                  Plaintiff-Appellant,            D.C. No.
                                                  2:23-cv-06281-CBM-SK
   v.                                             Central District of California,
                                                  Los Angeles
 UNITED STATES OF AMERICA,
                                                  ORDER
                  Defendant-Appellee.

        Appellant’s motion (Docket Entry No. 15) for voluntary dismissal is

 granted. This appeal is dismissed. Fed. R. App. P. 42(b).

        This order served on the district court acts as the mandate of this court.

        All other pending motions are denied as moot.



                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT




 OSA117/Pro Se
